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DAVID J. COOK, ESQ. (State Bar # 060859)
ROBERT J. PERKISS, ESQ. (State Bar # 62386)
COOK COLLECTION ATTORNEYS

A PROFESSIONAL LAW CORPORATION
165 Fell Street

San Francisco. CA 94102

Mailing Address: P.O. Box 270

San Francisco, CA 94104-0270

Tel.: (415) 989-4730

Fax: (415) 989-0491

File No. 52.759

Attomeys for Plaintiffs
DEBORAH D. PETERSON. Personal Representatives
of the Estate of James C. Knipple (Dec.). et al.
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION
DEBORAH D. PETERSON, Personal

Representative of the Estate of James C.
Knipple (Dec.), et al..

CASE NO. 3:08-mc-80030-JSW

DECLARATION OF DAVID J. COOK. ESQ.
IN SUPPORT OF MOTION FOR
ASSIGNMENT OF RIGHTS PURSUANT TO
C.C.P. § 708.510(a) AND F.R.C.P. 69(a)

Plaintiffs,

VS.
[FINANCIAL INSTITUTIONS]
ISLAMIC REPUBLIC OF IRAN. et al..
Date: June 20, 2008
Time: 9:00 a.m.
Courtroom: 17, 16" Floor
Judge: Jeffrey S. White

Defendants.

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I. DAVID J. COOK. hereby declare and state as follows:

1. Lam one of the attorneys of record for Plaintiffs in the above-entitled action, am duly
authorized to practice before all courts in the State of California, and am familiar with the facts
and circumstances in this action.

2. Plaintiffs have recovered judgment in the amount of $2,656.944,877.00 on 9/7/07
against THE ISLAMIC REPUBLIC OF IRAN (“Iran”) based upon that certain incident described
in the MEMORANDUM OPINION of 5/30/03. Plaintiffs thereafter obtained judgment on 9/7/07,

and a true and correct copy of the JUDGMENT is attached hereto marked Exhibit “A.”

DECLARATION OF DAVID J. COOK, ESQ. IN SUPPORT OF MOTION FOR ASSIGNMENT OF RIGHTS
PURSUANT TO C.C-P. § 708.510(a) AND F.R.C.P. 69(a) [FINANCIAL INSTITUTIONS]
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3. Plaintiffs are informed and believe that many of these financial institutions on a
worldwide basis do business with Iran. The basis of this information is predicated upon the EIA
Report from the Department of Energy, a true and correct copy attached hereto marked Exhibit
“B,” showing that Iran is the second largest purchaser of gasoline, second to the United States.
importing billions of dollars. Iran necessarily must pay for the gasoline services through one or
more mediums. Typically, Iran would pay a financial institution to issue a letter of credit,
enabling the seller of the gas to ship the gas, and in turn, receive payment through a “draw down”
based upon the letter of credit. In many cases, the banks issuing the letters of credit would be large
European and Asian banks, assuring essentially their own “clientele,” that in fact they would be
paid predicated upon the shipment of gasoline and other refined products.

4, Iran is also a major importer of such products as industrial and raw materials,
intermediate goods, capital goods, foodstuffs, and other consumer items and goods and technical
services, all of which is set forth in great detail in the Central Intelligence Agency “World Fact
Book,” a true and correct copy which is attached hereto marked Exhibit “C.” Needless to say.
Iran has to pay for these goods and services, primarily goods. and the typical methodology is
through a letter of credit, issued by a neutral bank.

5. Iran’s vast import market is confirmed by the GAO “Highlights” Report of December,
2007. a true and correct copy attached hereto marked Exhibit “D,” which shows at page 30
literally billions of dollars of imports coming to Iran from such countries as Germany, China,
UAE. Korea, France, Italy, Russia. India, Brazil, Japan, among others. Commons sense again
would dictate that these “exporting countries,” to assure themselves of payment. are in fact
demanding and receiving letters of credit, all of which

6. Plaintiffs seek an assignment of rights of all deposits, deposit accounts. rights to receive
payment of money. contingent rights, future rights, general intangibles, rights of any refund. rights
to direct. transfer or dispose of any account, deposit account, rights to receive any checks. drafts
or money orders. rights to transfer. use or control any account, regardless of the name. (all

hereinafter collectively “Accounts’). to and in favor of THE ISLAMIC REPUBLIC OF IRAN.

DECLARATION OF DAVID J. COOK, ESQ. IN SUPPORT OF MOTION FOR ASSIGNMENT OF RIGHTS
PURSUANT TO C.C.P. § 708.510(a) AND F.R.C.P. 69(a) [FINANCIAL INSTITUTIONS]
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| || and all of its agencies and instrumentalities. (hereinafter collectively “Iran”), in which such
2 || accounts, and each of the same. are in the possession, control. dominion. custody. care. or held by
the following financial institutions (“Banks”) as listed on the attached Exhibit “E.”
4 I declare under penalty of perjury that the foregoing is true and correct.
5 Executed on May 1. 2008.
6
/s/ David J. Cook
7 DAVID J. COOK, ESQ. (SB# 060859)
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DECLARATION OF DAVID J. COOK. ESQ. IN SUPPORT OF MOTION FOR ASSIGNMENT OF RIGHTS
PURSUANT TO C.C.P. § 708.510(a) AND F.R.C.P. 69(a) [FINANCIAL INSTITUTIONS]
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